Case 18-56641-wlh       Doc 26     Filed 08/20/18 Entered 08/20/18 13:10:27             Desc Main
                                   Document      Page 1 of 2


                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

   IN RE:                                         :
                                                  :
   EDDIE PORTER, JR
   CHARLOTTE VICTORIA PORTER                      :      CHAPTER 13
                                                  :
                  Debtor.                         :      CASE NO.: 18-56641-WLH

                                CERTIFICATE OF SERVICE

   This is to certify that I have this day served a copy of the within and foregoing Initial
   Chapter 13 Plan in the above styled case by depositing same in the United States mail
   with the adequate postage affixed thereto to insure delivery addressed as follows:


   Nancy J Whaley (Served via ECF mail)
   Chapter 13 Trustee
   303 Peachtree Center Avenue
   Suite 120, Suntrust Garden Plaza
   Atlanta, GA 30303

   Eddie & Charlotte Porter
   4285 Huntoon Place
   Forest Park, GA 30297


   SEE ATTACHED FOR ADDITIONAL CREDITORS

   Date: August 20, 2018

   _____/s/_____________
   Howard Slomka, Esq.
   Georgia Bar # 652875
   Slipakoff & Slomka, P.C.
   Attorney for Debtor
   2859 Paces Ferry Road SE Suite 1700
   Atlanta, GA 30339
   Tel. (404) 800-4001
Label Matrix forCase     18-56641-wlh
                  local noticing              Doc 26    Filed
                                                   (p)CARTER    08/20/18
                                                             YOUNG INC    Entered 08/20/18 13:10:27
                                                                                            Civil Housing,Desc
                                                                                                            LLC Main
113E-1                                                  Document
                                                   882 N MAIN STREET    Page 2 of 2         730 Hill Street
Case 18-56641-wlh                                     SUITE 120                                            Forest Park, GA 30297-1484
Northern District of Georgia                          CONYERS GA 30012-4442
Atlanta
Mon Aug 20 12:55:05 EDT 2018
Credit Protection Asso                                ECMC                                                 (p)GEORGIA DEPARTMENT OF REVENUE
One Galleria Tower                                    PO BOX 16408                                         COMPLIANCE DIVISION
Dallas, TX 75240                                      ST. PAUL, MN 55116-0408                              ARCS BANKRUPTCY
                                                                                                           1800 CENTURY BLVD NE SUITE 9100
                                                                                                           ATLANTA GA 30345-3202

Global Lending Service                                Global Lending Services LLC                          IRS
5 Concourse Pkwy. NE                                  1200 Brookfield Blvd Ste 300                         401 W Peachtree Street NW
Suite 2925                                            Greenville, South Carolina 29607-6583                Atlanta, GA 30308
Atlanta, GA 30328-7104


MARIETTA EYE CLINIC                                   PERITUS PORTFOLIO SERVICES II / WOLLEMI              Charlotte Victoria Porter
CARTER-YOUNG, INC                                     PO BOX 141419                                        4285 Huntoon Place
882 N MAIN ST, STE 120                                IRVING, TX 75014-1419                                Forest Park, GA 30297-3615
CONYERS, GA 30012-4442


Eddie Porter Jr.                                      Premiere Credit of North Ameri                       Santander Consumer USA
4285 Huntoon Place                                    PO Box 19309                                         PO Box 961245
Forest Park, GA 30297-3615                            Indianapolis, IN 46219-0309                          Fort Worth, TX 76161-0244



Howard P. Slomka                                      U. S. Attorney                                       Nancy J. Whaley
Slipakoff & Slomka, PC                                600 Richard B. Russell Bldg.                         Nancy J. Whaley, Standing Ch. 13 Trustee
Overlook III - Suite 1700                             75 Ted Turner Drive, SW                              303 Peachtree Center Avenue
2859 Paces Ferry Rd, SE                               Atlanta GA 30303-3315                                Suite 120, Suntrust Garden Plaza
Atlanta, GA 30339-6213                                                                                     Atlanta, GA 30303-1216



                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Carter-young Inc                                      Georgia Department of Revenue                        End of Label Matrix
Po Box 82269                                          1800 Century Blvd                                    Mailable recipients   17
Conyers, GA 30013                                     Suite 17200                                          Bypassed recipients    0
                                                      Atlanta, GA 30345                                    Total                 17
